   4:22-cr-03018-JMG-CRZ Doc # 12 Filed: 02/24/22 Page 1 of 2 - Page ID # 31



                                                                                            FILED
                                                                                    U.S. Dl~ THJCT COURT
                                                                                  01S1 HIC1 Gr NEiJI~ /'..SK,\
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA                          2022 FEB 24 PH 5: 09
UNITED STATES OF AMERICA,                                                         OFFICE OF THE CLER!(
                      Plaintiff,
                                                                         4:22CR   JD/&
                                                                   INDICTMENT
       vs.
                                                                 18 U.S.C. § 2251(a)
                                                               18 U.S.C. § 2252(a)(l)
CHRISTOPHER GROTH,
                                                              18 U.S.C. § 2252(a)(4)(B)
                      Defendant.


       The Grand Jury charges that

                                            COUNTI

       Beginning or about September of 2020 and continuing to on or about December of 2020,

within the District of Nebraska, CHRISTOPHER GROTH, the defendant herein, did employ, use,

persuade, induce, entice, and coerce a minor, Victim l, to engage in sexually explicit conduct and

acts that are indistinguishable from that of a minor engaging in sexually explicit conduct for the

purpose of producing any visual depiction of such conduct, knowing and having reason to know

that such visual depiction would be transported using any means and facility of interstate and

foreign commerce; and using materials that have been mailed, shipped, and transported in and

affecting interstate and foreign commerce by any means, including by computer.

      In violation of Title 18, United States Code, Sections 2251 (a).



                                           COUNT II

       On or about February 2, 2021, within the District of Nebraska, CHRISTOPHER GROTH,

the defendant herein, did knowingly transport and ship, using any means and facility of interstate

and foreign commerce and in and affecting interstate and foreign commerce, including by
  4:22-cr-03018-JMG-CRZ Doc # 12 Filed: 02/24/22 Page 2 of 2 - Page ID # 32




computer. any visual depjction, the production of such visual depiction having involved the use of

a minor engaging in sexually explicit conduct and such visual depiction beil;lg of such conduct.

       In violation of Title 18, United States Code, Sections 2252(a)(l).



                                           COUNTID

        On or about June 3, 2021, in the district of Nebraska, CHRISTOPHER GROTH, the

defendant herein, did knowingly possess one or more computer files and other matter which

contained an image of child pornography, the production of such visual depictions involved the

use of a minor engaging in sexually explicit conduct and such visual depictions were of such

conduct, said computer files and other matter had been shipped or transported in interstate

commerce by any means, including by computer including images of child pornography, involving

prepubescent minors or minors who had not attained 12 years of age.

         In violation of Title 18, United States Code, Section 2252(a)(4)(B).




                                                    A TRUE BILL.
                                                                       ,,   /




                                                              ......
                                                    FOREPERSON



       The United States of America requests that trial of this case be held in Lincoln, Nebraska,
pursuant to t!ie rules of this Court.




                                                Assistant United States Attorney

                                                2
